                                                                              KS
Case 1:21-cr-20406-KMW Document 3 Entered on FLSD Docket 08/02/2021 Page 1 of 24


                                                                                            Jul 29, 2021

                             U M TED STAT ES D ISTR ICT CO U R T
                             SO UTH ERN D ISTR ICT O F FL OR IDA
               21-20406-CR-WILLIAMS/MCALILEY
                             C aseN o.
                                         18U.S.C.j371
                                         15U.S.C.j78dd-2
                                         18U.S.C.j1956(h)
                                         18U.S.C.j1956(a)(2)(A)
                                         18U.S.C.j1957
                                         18U.S.C.j2
                                         18U.S.C.j981(a)(1)(C)
                                         18U.S.C.j982(a)(1)
  U N ITE D STA TES O F AM ER ICA

  V S.

  N A M AN W A K IL,

                        D efendant.
                                                 /

                                           IN D ICTM EN T

         TheGrand Jury chargesthat:

                                   G EN ER AI,ALLEG ATIO N S

         Ata1ltimesrelevantto thislndictm ent,l'nlessotherwisespecified:

                          RELEVANT STATUTORY BA CK GR OUND

                 The Foreign CorruptPracticesActof 1977,asamended,Title 15,United States

  Code,Sections78dd-1,etseq.(the(TCPA''),wasenactedby Congressforthepurposeof,nmong
  other things,m nking it unlaw f'ul for certain classes of persons and entities to act com p tly in

  furtlw rance of an offer,prom ise,authorization,or paym ent of m oney or anything of value to a

  foreign governm entofficialforthepup oseofinsuencingtheforeign official,inducingtheforeign

  officialto take oromitcertain acts,and securing an im properadvantage in orderto assistthose

  classesofpersonsin obtaining orretaining businessfor,ordirectingbusinessto,any person.
Case 1:21-cr-20406-KMW Document 3 Entered on FLSD Docket 08/02/2021 Page 2 of 24




                 Venezuela'sAnti-cornzption Law ofApdl7,2003 (amended on November 19,
  2014)prollibitedpublicofficialsinVenezuelafrom,nmongotherthings,receivingoragreeingto
  receive,m oney,on theirown behalfortllrough others,relating to any acttaken in the course of

  his/herofficialduties orresponsibilities.

                          R ELEV AN T IND IVID UA LS AN D ENTITIES

                 DefendantN AM AN W AKIL wasacitizenofSyriaand alegalperm anentresident

  ofthe United States. W AK IL m aintained personaland investmentbnnk accounts atbanksin,

  am ong other places,the United States,the Caym an Islands,and Sw itzerland. W AK TL w as a

  lEdom estic concçnw''as thatterm is defined in the FCPA ,Title 15,U nited States Code,Section

  78dd-2(h)(1)(A).
                 Corporacion deAbastecimientoy ServiciosAgricola(:GCASA'')wasVenezuela's
  state-owned and state-controlled food company underthe M inistry ofPeople'sPowerforFood

  that purchased food for the people of Venezuela. CASA was a department, agency, and

  Gtinstrum entality''ofthe Venezuelan governm entasthoseterm sareused in the FCPA,Title 15,

  UnitedStatesCode,Sections78dd-2(h)(2)(A)and 78d&3(f)(2)(A).
                 Venezuelan Official1wasalligh-rnnking officialofCA SA from in oraround2010

  to in or arotmd 2011.Veneztzelan Official1 wasa tçforeign official''asthatterm isused in the

  FCPA,Title15,UnitedStatesCode,Sections78dd-2@)(2)(A)and78dd-3(t)(2)(A).
                 Venezuelan Oflkial2w asahigh-rnnkingoftk ialofCASA from in orarotmd2011

  to in or arotm d 2014. V enezuelan Oftk ial 2 w as a Ktforeign official''as thatterm isused in the

  FCPA,Title15,UnitedStatesCode,Sections78dd-2(h)(2)(A)and78dd-3(t)(2)(A).
                 NAM AN W AK IL owned and controlled various companiesthatreceived filnds

  from CASA (together,the IGW aIdI Food Companies'),including W aldl Food Company 1.
Case 1:21-cr-20406-KMW Document 3 Entered on FLSD Docket 08/02/2021 Page 3 of 24




  NA M A N W AK IL opened bnnk accountsfor each of the W akilFood Com panies in Sw itzerland

  and forcertain ofthe W akilFood Com panies in the Caym an lslands.

         8.      PetrôleosdeVenezuela,S.A.(GTDVSA'')7wasVenezuela'sstate-ownedandstate-
  controlled oi1company.PDVSA wasowned and controlled by,andperformed functionsotlthe
  Venezuelan government.PDVSA maintainedamajoritystakein mld controlled certain PDVSA
  subsidiaries,including'
                        .(a)Petropiar,S.A.(Gtpetropiar''),ajointventurebetween PDVSA andan
  American'oi1company;and (b)Petromiranda,S.A.(Glpetrolniranda'),ajointventure between
  PDVSA and a Russian oi1company (together,the GTDVSA Subsidiaries'). PDVSA and the
  PD V SA.Subsidiaries, including Petropiar and Petrom iranda, w ere ltinstrtm lentalities'' of the

  V enezuelan governm ent and the PDV SA Subsidiaries' ofticers and'em ployees w ere Gtforeign

  officialw'l:
             as those tenns are used in the FCPA ,Tijle 15,Urtited States Code, Sections 78dd-

  2(h)(2)(A).and78dd-3(9(2)(A).
                V enezuelan Ox cial3 w asahigh-ranldng officialatPetrom irandaduring theperiod

  f'
   rom in.or.around 2014 to in or around 2017. V enezuelan Official3 w as a çlforeign official''as

  thatterm isusedintheFCPA,Title15,Urlited StatesCode,Sections78dd-2(h)(2)(A)and78dd-
  3(9(2)(A).
                V enezuelan Official 4 w as a high-ranking official atPetropiar dtlring the period

  9om in orarolmd 2015 to in oiarotm d 2017.Venezuelan Official4 was a GGforeign official''as

  thatterm isused intheFCPA,Title 15,UnitedStatesCode,Sections78dd-2(h)(2)(A)and78dd-
  3(9(2)(A).
         11.    N AM AN W AK IL owned and controlled various com pnnies thatreceived funds

  from Petropiar and Petrom iranda,directly orindirectly,relating to the provision ofsuppliesto the

  PDVSA Subsidiaries,includingW akilOilCompany 1and W nkilOi1Company 2 (together,the
    Case 1:21-cr-20406-KMW Document 3 Entered on FLSD Docket 08/02/2021 Page 4 of 24




      çlW aldlOilCompnnies').'W AKH ,opened barlk accountsforthe W akilOilCompnniesin the
      United States.

             12.    '
                    C o-conspirator 1 w as a V enezuelan citizen. Co-conspirator 1 was a tGperson''as

      thattenn isused intheFCPA,Title15,United StatesCode,Section78dd-3(t)(1).
             13.       Co-conspiratoro-wasa Venezuelan citizen and a relative ofVeneztzelan Official

      2.Co-conspirator2 wasa'
                            iGperson''eastbatterm is'tlsed in theFCPA,Title 15,Urlited StatesCode,

      Section 780 -3(9(.
                    .  1.
                        ). .                           ':.'.
             14. ..''
                    tflozcozls/ircltor.
                                      3tè
                                        wa aivenezuelamcitizen. Co-conspirator3 wasaGtperson''as
      thatterm is'ujed-in.
                         the'F.
                              CP<',
                                  Tit1è:
                                       15
                                       '.,3united,slàtesCode,Section78dd-3(9(1).
.
             15. tC- corps/iràtor4'was.a'venezuelamcitizen. Co-conspirator4wasaçlperson''as
      thatterm istilsed.I'GeTCPA',
                                 RtTitlé45,.
                                           U nitedStatésCode,Section78dd-3(9(1).
             16. uacœ conspitator 5 n
                                    w as a V enezuelan citizen and a resident of the United States

      dudngthe.
              relevantlperiodtIC.o-conspirator5 wasea Rdom estic concenw''asthatterm isdefm ed in

      theFCPA,.
              Title:
                   :
                   1,
                    5.'
                      ,r
                       U'lïdi:stàtèjïcbde,'
                                          .s'
                                            eétion,
                                                  7$dd-2(h)(1)(A).
                                                  CO U N T I
                         '
                         C onspirAcy to'v iolate the Foreign C orruptPracticesA ct
                                             (18U.S.C.j.371)
             1.    '.Paragraphs,.1,t4br
                                      .otlgh '
                                             1è
                                             ,6,.of the,.
                                                        G eneral A llegations Section are re-alleged and

      incorporatedi
                  by'referenceèase
                                 . oujh.
                                       fully,setforth'
                                                     herein.
             2.    .From in orarotmd 2010,continuing tmtilatleastSeptember2017,in the Southern

      D istrictofFlodda,and elsew here,the defendant,




                                                         4
Case 1:21-cr-20406-KMW Document 3 Entered on FLSD Docket 08/02/2021 Page 5 of 24




                                              N A M AN W A K IL ,

  did willfully,thatis,with the intentto further the purpose of the conspiracy,and knowingly

  conspire,combine,confederate and agreewith othersknown and l'nknown to the Grand Jury,to

  comm itan offense.againsttheUnited States,thatis:

         a.         being a dom estic concern,to willfully and corruptly m ake use ofthe m ailsand a

  m eansand instrumentalitiesofinterstate com mercein furtheranceofan offer,payment,prom ise

  to pay,and authorization ofthepaym entofmoney,offer,gift promiseto give,and authorization

  ofthe givingnofzan      ' g ofvalue to a foreign official,and to aperson,whileknowing thata11or

  a portion ofsudh,m onéy.ând tlling ofvalue would be and had been offered,given,and prom ised

  toaforeign/official,fpr/purposesof:(i)influencingactsand decisionsofsuchforeign officialin
  hisorheroo cial,cgpédity;(ii)inducingsuchforeignofficialtodoandomittodoactsinviolation
  ofthelawftzldutpofssuch ofticial;(iii)securing an improperadvantage;and (iv)inducing such
  foreign ofliciâl to use llis or her influence with a foreign governm ent and agencies and

  instrtzrrlentàlities.
                      .
                      zG erèéfk
                              'to affect and influence acts and decisions of such governm ent and

  agenciesand instrum entalities,in orderto assistN           W AKIL,lliscompnnies,and othersin

  obtaining and Tetniming businessforand with,and directing businessto,N              W AKIL,his

  compnnies,andnblbers,ins.
                          violation ofTitle 15,United StatesCode,Section 78dd-2;and
              ' t
                    Wl1ilein'the tenitory oftheUnited States,to willfully and cornptly m akeuse of
                    '



  the m ails and m eaps and instrum entalities of interstate comm erce and do any other act in

  furtherance of an offer,paym ent,prom ise to pay, and atlthorization of the paym ent of m oney,

  offer,gift prom isetogive,andauthorization ofthegivingofanything ofvaluetoaforeign official,

  and to aperson,whilelcnowing thatalloraportion ofsuch m oney and thing ofvaluewould be

  andhad been offered,given,and momisedto aforeign oftkial,forpurposesof:(i)intluencing


                                                       5
Case 1:21-cr-20406-KMW Document 3 Entered on FLSD Docket 08/02/2021 Page 6 of 24




  actsalzddecisionsofsuchforeignofficialinhisorherofficialcapacity;(ii)inducingsuchforeign
  officialto doandomittodo actsinviolationofthelawfulduty ofsuchofficial;(iii)securing an
  improperadvantage;and (iv)inducing such foreign officialto use his orherinfluencewith a
  foreign governm entatld agencies and instrum entalities thereofto affectand influence actsand

  decisions of such governm ent and agencies and instnzm entalities, in order to assist Co-

  Conspirators 1,2,3,4,and othersin obtaining and retaining businessforand with,and directing

  business to,N A M A N W AK IL ,his com panies,and others,in violation ofTitle 15,U nited States

  Code,Section 78dd-3.

                               PU RPO SE O F TH E C ON SPIM CY

         ltwasthepuposeand objectoftheconspiracyforthedefendantand hisco-conspirators
  to tmlawfully emichthem selvesbybribing Veneztzelan officialsto obtain and retain contractsand

  other business advantages,including obtaining paym enton m ulti-million dollar conkacts with

  entities and instnzm entalitiescontrolled by the V eneztzelan governm ent.

                       M M NER AND M EAN S OF THE CONSPM                   CY

         The m anner and m eans by w hich N AM AN W A K IL and his co-conspirators sought to

  accomplish thepup ose oftheconspiracy included,among otherthings,the following conductin

  theSouthern DistrictofFlorida and elsewheze:

                 NAM AN W AM L,togetherwith others,whilein the Southern DistrictofFlorida

  and elsewhere,did offertopay,prom iseto pay,authorizethepaym entof,and pay bribes,diredly

  and indirectly,to and for the benefk of foreign officials in V enezuela, including V enezuelan

  Oo cials 1,2,3,and 4 to seclzre theirassistance in awarding contw cts and providing business

  advantagesto W AK IL and his com panies.




                                                      6
Case 1:21-cr-20406-KMW Document 3 Entered on FLSD Docket 08/02/2021 Page 7 of 24




                NAM AN W AKIL,togetherwith others,whilein the Southern DistrictofFlorida

  and elsewhere,did discussin person and by othermeansthe m nnnerand m eansby which bribes

  w ereto be paid.

                N           W AKIL,togetherwith others,while in the Southern DistrictofFlodda

  and elsewhere,used the W alcilFood Companies,the W aldlOi1Com panies,and bank accolmts

  controlled by W AKTL and othçrsin the Caym an Islands,Switzerland,Panama,and elsewhereto

  prom ote the illegalbribery schem e and to concealthe natare and purpose of the proceeds ofthe

  illegalbribery schem e.

                                     Bribes to C'
                                                WSW Ofscials

                ln or around 2010,N A M A N W AK IL m etV enezuelan Official 1 at W A K IL 'S

  office building in Caracas,V enezuela. W AK TL agreed to m ake com zptpaym entsto V enezuelan

  Official 1 to obtain and retain contracts and business advantages,including disblzrsem ents of

  contractualpaym entsfortheW aldlFoodCompanieswith CA SA.

                From in or around January 2010 tö in or arotm d Jtm e 2011,N A M A N W A K IL

  received approxim ately $30 m illion tllrough incoming wire transfers f'
                                                                         rom CASA into a bnnk
  accountlocated in theCaym an Islandsheld in thenam eofW aldlFood Company 1.

                ln or arotm d Augustand Septem ber 2010,NAM AN W AKIL wire transferred

  approxim ately $750,000 in bribepaym entsfrom the W akilFood Company 1barlk accountin the
  Caym an lslandsto abnnk accotmtin South Floridaforthe benefitofVenezuelan Offcial1. To

  concealand disguise the tnze nattzre ofthese bribe paym ents,W A K IL provided false invoices to

  thebnnk intheCaymanIslandsfalsely indicating thatthepaym entsw erefor,am ong otherthings,

  logisticalservices and custom spaperwork.




                                                    7
Case 1:21-cr-20406-KMW Document 3 Entered on FLSD Docket 08/02/2021 Page 8 of 24




                lnorarotmdDecember2011or2012,NAM AN W AKIL metVenezuetanOfficiàl
  2 in Caracas,V enezuela. W AK IL agreed to m ake cornzptpaym entsto V enezuelan O flicial2 to

  obtain and retain contracts and business advantages, including disbursem ents of contractual

  payments for the W aldl Food Com panies with CA SA. W AK IL agreed to m ake the com zpt

  paym entsthrough Co-conspirator2,a relative ofV enezuelan Official2.

         8.     ln or around 2012,. NAM AN W AKIL caused Co-conspirator 1 to setup barlk

  accotmtsin Switzerland forthebenefitofCo-conspirator2 and Venezuelan Official2.

         9.     From in or arotmd 2012 to in or arolmd 2015, NAM AN W AKIL received

  approxim ately $225m illion tllrough incoming wiretransfersfrom CASA tobnnk accountsforthe
  W akilFood Com paniesin Sw itzerland.

         10.    From in orm'olm d 2012 to in orarotmd 2014,NAM AN W AK TL wiretransfen'ed

  approximately $11 m illion in bribe payments from the W akilFood Com panies' accotmts in
  Switzerland to a bank accotmtin Switzerland controlled by Co-conspirator2 forthe benefitof

  Venezuelan Oftk ial2. To concealand disguisethetruenatureofthesebribepaym ents,W AK IL

  providedfalsehwoicesto thebnnk in Switzerlandthatfalselystatedthepaym entsw erefor,am ong

  otherthings,logisticalselwicesand custom spaperwork.

                In connection with the con-uptly obtained contracts from CASA, NAM AN

  W AIQIL wit'etransferred atleast$50 m illion tohispersonalaccolmtin Switzerland.From these
  fllnds in his'personalaccotmtin Switzerland,W AKIL wire transferred atleast$20 m illion to
  personal accotm ts in his nnm e in M inm i,which W AK IL used to plzrchase, nm ong things,ten

  apartmentllnitsin South Florida,a$3.5m illion plane,and a$1.5 million yacht.




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Case 1:21-cr-20406-KMW Document 3 Entered on FLSD Docket 08/02/2021 Page 9 of 24




                                        Bribesto PD VSA Of/zeffll.
                                                                 î
         12.    In or arotm d 2014, N A M A N W AK TL m et V enezuelan Official 3 and Co-

  Conspirator5 atW AK IL'Sofficebuilding in M iam i,Florida. W AKIL agreed to m akecornlpt

  paym entsto V eneztzelan O fficial3 in orderto obtain and retain contractsand businessadvantages,

  includingdisbuisem entsofcontracm alpaym entsfortheW akilOilCompanieswith Petrom iranda.

                In orarotm d 2014,Venezuelan Official3 sentan em ailfrom lzispersonale-m ail

  accolmtto an e-mailaccountofCo-conspirator3 seeldng paym entofapproxim ately $100,000to
  a shellcom pany account in Panam a. Co-conspirator 3 forwarded the e-m ailto an em ployee of

  W AKIL and,subsequently,W AK TL causedthepaym entofapproximately $100,000 from W aldl
  Oi1Company 1 forthebenefitofVenezuelan Official3.

                ln oràrotmd 2015,NAM AN W AM L received approxim ately $7.7 m illion into a
  bank accotmtforW alcilOi1Company 1 in the United States in connection with a Petrom iranda

  contract.

         15.    ln or arolmd 2015, NAM AN W AKIL caused the transfer of approximately

  $250,000 from theW akilOilCompany 1bnnk accotmttoacorporate accountirltheUnited States
  forthebenefitofVenezuelan Official3.

                ln or arotm d 2015,N A M A N W A K IL caused an e-m ailto be sentto V enezuelan

  Official4 seekingto obtain contractsforW alcilOi1Company 2w111&Pçtropiar.

         17.    In orarotmd 2015,NAM AN W AK TL directed Co-conspirator 1to open a bnnk

  accotmtin the nnm e ofa shellcom pany forthe benefitofV eneztlelan O fficial4 in Pannm a.

         18.    In or aroutld 2015,Co-conspirator 3 received docllm ents by e-m ailfrom a close

  relative ofV enezuelan Official4,including thepassportofV enezuelan Ofticial4,to open a bnnk

  accountfora shellcom pany in Panam a.


                                                     9
Case 1:21-cr-20406-KMW Document 3 Entered on FLSD Docket 08/02/2021 Page 10 of 24




          19.    In orarotmd 2015,NAM AN W AKIL causedVenezuelan Official4to approve an

   approximately $11.2 m illion contractforPetropiarto ptzrchasepipes.W AKIL acquiredthepipes

   hesuppliedto Petropiarfw m Chinaforapproxim ately $1.3m illion,leaving an inflated nm otmtof
   approximately ninetim esthe am ountofthepipes. To concealand disguise the beneficiariesof

   the Petropiar contract,W AK TL caused the paym ents fzom Petropiar to be m ade to a corporate

   accountofCo-conspirator4 in M iam i.

          20.    From January 2016 to July 2016,NAM AN W AKIL caused Petropiarto transfer

   approxim ately $11.2 m illiontothecorporateaccountofCo-conspirator4 in M iam iin connection

   with Petropiar'spurchaseofpipes. To furtherconcealand disguisethefactthatW AK IL and his

   co-conspiratorswerethebeneficiariesofthePetropiarpaym ents,W AK IL didnotreceivekansfers

   directly f'
             rom thecop orateaccotmtofCo-conspirator4.lnstead,W AK IL andllisco-conspirators

   caused m ultiple w ire transfers f'
                                     rom the cop orate account of Co-conspirator 4 in M inm ito an

   accountcontrolled by Co-conspirator 1in Pannm a. W AKIL and hisco-conspiratorsthereafter

  caused additionalwiretransfersfrom Co-conspirator 1'saccountin Panam ato accotmtsofW aldl

   Oi1Company 2 in theUnited States.

                 In or around 2017, N            W AK IL m et V enezuelan Official 4 and.Co-

   Conspirator5 atW AK H ,'S officebuilding in M iam ito discussthe bribe forVenezuelan Official

  4 relatingtothePetropiarpipeeontrad andpurchaseorder.

                 In or around 2017,NAM AN W AK IL caused the transfer of osvnersi;p of a

  condom inium worth approxim ately $300,000in M iami,Floridatoacorporateentity controlled by
  a close relative ofV enezuelan O fficial4 forthe benefitofV enezuelan O fficial4.




                                                    10
Case 1:21-cr-20406-KMW Document 3 Entered on FLSD Docket 08/02/2021 Page 11 of 24




                 NAM AN W AK IL maintained ledgers ofbribe payments,including $350,000 in

   paym entsm adeforthebenefitofVenezuelan Official3 andthe$300,000realestatetransferm ade
   forthebenefitofV enezuelan Official4.

                                            O vertA cts

          lnfurtheranceoftheconspiracy,andtoaffecttheobjectsthereotlNAM AN W AKIL,and
   others,com mittedthe following overtacts,nm ong others,in the Southern DistrictofFlorida,and

   elsewhere'
            .

                    In orarotmd January 2012,NAM AN W AKIL caused a Swissbarlk accountto be

   opened in thennme ofa Panam anian company listing Co-conspirator 1and Co-conspirator2 as

   signatodes.

          2.        On oraboutFebruary 13,2012,NAM AN W AK IL caused an em ailto be sentto

   Co-conspirator2 listingoutstandingpaym entsowed totheW aldlFood Companiesf'
                                                                             rom CASA .

                 O n or about M arch 1,2012, Co-c onspirator 2 forw arded the February 13,2012

   em ailtothepersonalem ailaccountofVenezuelan Offcial2.

          4.        On oraboutApril5,2013,NAM AN W AK IL caused awiretransferof$1,000,000
   f'
    rom oneofthe W aldlFood Company accotmtstothe Swissbank accotmtopened in the nam e a

   Pannm anian com pany listingCo-conspirator1and Co-conspirator2 assignatories.Thepaym ent

   wasforthebenefitofCo-conspirator2 andV enezuelan Of/cial2.

          5.     In or around 2014, NAM AN W AK IL m et Venezuelan Oftk ial 3 and Co-

   Conspirator 5 atW AK IL'S office building in M inm i,Florida. W AK IL agreed to m ake com p t

   paym ents to V enezuelan Official 3 in order to obtain and retain contracts and other business

   advantages,including disbursem ents of contracttzalpaym ents for the W akilOilCom panies w 1111

   Petrom iranda.
Case 1:21-cr-20406-KMW Document 3 Entered on FLSD Docket 08/02/2021 Page 12 of 24




                   On oraboutJuly 17,2014,Co-conspirator3 received an em ailfrom Venezuelan

   O fficial 3 noting bnnk account inform ation to receive the paym ent of bribe proceeds âom

   N         W AK IL .

                 On oraboutOctober8,2015,NAM AN W AKIL and m embersofthe conspiracy

   caused the transfer ofapproxim ately $150,000 from an accotmtofW aldlOi1Company 1to atl

   accotmtin theUnited StatesforthebenefitofVenezuelan Official3.

                 On or aboutAugust 11,2016,NAM AN W AKTL caused a ledgerto be sentby

   emailtracldng payments relating to an approximately $11.2 m illion Petropiaz contract listing
  payments owed to Venezuelan Official 1, Co-conspirator 1, Co-conspirator 3, and Co-

   Conspirator4.

                 On or about A ugust 16,2016,N A M A N W AK IL caused Co-conspirator 1 to

  receiveapproxim ately $800,000in an accolmtin Panama.
          10.    ln or around 2017, N           W AKIL met Venezuelan Official 4 and Co-

  Conspirator5 atW AKH U'Sofficebuilding in M inm ito discussthebribeforVenezuelan Oo cial

  4 relatingto thePetropiarpipecontract.

          11.    On or aboutJtm e 29,2017,N AM AN W A K IL caused anotherledgerto be sentby

  em ailtraclcing paymentsrelating to intlated contractsreceived by theW alcilOi1Com parlieswith

  thePDVSA Subsidiades,including variousbribespaid to officialsatthePDVSA Subsidiaries.

          12.    On oraboutM arch 20,2017,a close relative ofV enezuelan Official4 sentan em ail

  to an em ployee ofNAM AN W AK IL providing condom inimn application inform ation related to

  the upcoming transferofownership ofa condominium worth approxim ately $300,000 in M inm i,
  Florida.




                                                   12
    Case 1:21-cr-20406-KMW Document 3 Entered on FLSD Docket 08/02/2021 Page 13 of 24




              13.     On or about September 1, 2017, NAM AN W AKIL caused the transfer of

       ownership of a condom inblm worth approxim ately $300,000 in M inmi,Florida,to a corporate
       entity controlled by a closerelative ofV enezuelan O fficial4 forthe benefitofV enezuelan O fficial

       4.

              14.     On oraboutSeptember1,2017,N               W AKIL caused an employeetosend an

       em ail to a title com pany attaching a HU D settlem ent statem ent reflecting the transfer of the

       condomirlillm inM inmi,Flodda,to acorporateentity controlledby acloserelativeofVenezuelan

       Official4 forthebenefk ofVenezuelan Official4.           ,

              Allin violation ofTitle 18,United StatesCode,Section 371.

                                                 C O UN T 2
                                       Foreign C orruptPracticesA ct
                                     (15U.S.C.j78dd-2;18U.S.C.j2)                       '
              1.      Paragraphs 1 through 16 of the General A llegations Section and paragraphs 1

      tluough 23 of the M nnner and M eans Section of Cotm t 1 are realleged and incorporated by

      reference asthough fully setforth herein.

              2.      On oraboutSeptember1,2017,in theSouthem DistrictofFloridaand elsewhere,

      the defendant,

                                             N AM AN W A K TL ,

.     beingadom estic.concem ,didwillfully useand causetobeused and aid,abet,counsel,com mand,

       induce,and procuretheuse ofthem ailsand meansand instntm entalities ofinterstate comm erce

       com zptly in furtherance ofan offer,paym ent,prom iseto pay,and authorization ofthe paym entof

       m oney,offer,gift,prom ise to give,and authorization ofthe giving ofanything ofvalueto a foreign

       official,and to a person,while knowing thata1lora portion ofsuch m oney and thing ofvalue

       would beand had been offered,given,and promised to a foreign official,forpurposes of:(i)


                                                          13
Case 1:21-cr-20406-KMW Document 3 Entered on FLSD Docket 08/02/2021 Page 14 of 24




   influencing actsanddecisionsofsuchforeignofficialinhisorherofficialcapacity;(ii)inducing
   suchforeignofficialtodoatldomittodoactsinviolationofthelawfulduty ofsuchofficial;(iii)
   securinganimproperadvantage;and(iv)inducingsuchforeignofficialtousehisorherinfluence
   with aforeign governmentand agenciesand instrtlm entalitiesthereofto affectand influenceacts

   and decisions ofsuch governm entand agencies and instnlm entalities,in orderto assistW AK IL,

   lliscompanies,and othersin obtaining and retaining businessforand with,and directing business

   to,W AK IL,lliscompanies,and others,to witW AKIL caused an em ailto be sentin colm ection

   withtlzetransferofownership ofacondominituu inM iami,Floridaworth approxim ately $300,000

   on oraboptSeptem ber 1,2017,forthe benefitofVenezuelan Offcial4,in violation ofTitle 15,

   United States Code,Section 78dd-2,and Title 18,U nited States Code,Section 2.

                                             C O UN T 3
                (ConspiracytoCommitM oneyLaundering- 18U.S.C.j 1956(h))
          1.     Paragraphs 1 through 16 of the GeneralAllegations Section are re-alleged and

   incorporated by referenceasthough fully setforth herein.

                 From in orarotmd 2010,continuing untilatleastSeptem ber2017,in theSouthern

   DistrictofFlorida,and
                      ?
                         elsewhere,the defendant,

                                         N         W AK TL ,

   didwillfully,thatis,withtheintenttofurthertheobjectoftheconspiracy,andknowinglycombine,
   conspire,confederate,and agree with personsknow n and llnknown to the Grand Jury,to com m it

   an offense againstthe U nited States,thatis:

                 To knowingly,transpol't,transm itand trénsfer a m onetary instntm entand fllnds

                 from a place in the United Statesto and through a place outside the U rlited States,

                 and to a place in the U nited States from and through a place outside the United



                                                     14
Case 1:21-cr-20406-KMW Document 3 Entered on FLSD Docket 08/02/2021 Page 15 of 24




                States,with the intentto prom otethecarrying on ofspecified unlawfulactivity,in

                violationofTitle18,UnitedStatesCode,Section 1956(a)(2)(A):
         b.     To lcnowingly conduct,and aid,abet,arld cause othersto conduct,and attemptto

                conduct,financialtransactions affecting interstate and foreign comm erce,which

                transactions involved the proceeds ofspecified unlawfulactivity,lcnow ing thatthe

                property involved in the financialtransactionsrepresented the proceeds of som e

                form ofllnlawfulactivity,andthatthefinancialtransactionsweredesignedinwhole
                                                                          '
                                                 .


                and in part, to conceal and disguise the nature, the location, the solzrce, the

                ownership, and controlof the proceeds of said specified Ilnlawful activity, in

                violationofTitle18,United StatesCode,Section 1956(a)(1)(B).
         ltis f'
               urther alleged thatthe specified unlawfulactivity isthe following:(a)a felony
  violation ofthe FCPA,Title 15,United StatesCode,Sections78dd-2 and 78dd-3;and (b)an
  offenseagainstaforeign nation,specifically Veneztzela,involvingbribery ofapublicoo cial,and

  the misappropriation,theft,and embezzlem entofpublic fundsby and forthebenefitofapublio

  official,asprovidedbyTitle18,UnitedStatesCode,Sedion 1956(c)(7)(B)(iv).
                              PUR PO SE O F TH E CO N SPIR AC Y

         ltwasthepurposeoftheconspiracy forthedefendantandhisco-conspiratorstotmlawfully

  emich them selvesby bribingV enezuelan officialsto obtain andretain contractsand otherbusiness

  advantages, including obtaining paym ent on m ulti-m illion dollar contracts w ith entities and

  instntm entalities controlled by the V enezuelan governm ent,and to latm der bribes,proceeds,and

  otherftmdsrelated to the com zptschem einto and through accotmtsin the United Statesin order

  to prom otethe illegalbribery schem e and to concealthenatlzre and purpose ofthe proceeds ofthe

  illegalbribery schem e.


                                                     15
Case 1:21-cr-20406-KMW Document 3 Entered on FLSD Docket 08/02/2021 Page 16 of 24




                       M AN N ER A N D M EAN S O F TH E C O N SPIM CY

         Paragraphs 1 through 23 oftheM rmnerandM eansSection ofCotmt1arere-alleged and

  incorporated by referenceasthough fully setforth herein.

         A11inviolation ofTitle18,UnitedStatesCode,Section 1956(h).
                                         C O UN T 4
                       InternationalLaundering ofM onetary lnstrum ents
                                (18U.S.C.jj 1956(a)(2)(A)and2)
                Paragraphs 1 through 16 of the General Allegations Section and paragraphs 1

  through 23 of the M nnner and M eans Section of Count 1 are re-alleged and incorporated by

  reference asthough fully setforth herein.

                On oraboutAugust16,2016,in theSouthern DistrictofFloridaand elsewhere,the

  defendant,

                                        N A M AN W A K IL ,

  knowingly transported, transm itted, and transferred, and aided and abetted, and caused,the

  transpolt transm ission, and transfer of, and attempted to transport,transm it,and transfer,a

  monetary instrum entand funds 9om aplace in the United Statesto and through a place outside

  theUnited Statesand to aplacein theUrlited Statesâom andthrough aplace outsidethe Unitèd

  States,withtheintenttopromotethecanyingon ofspecifiedllnlawftllactivity,thatis:(aja
  violation oftheFCPA,Title 15,Utlited StatesCode,
                                                 'Sections78dd-2 and 78dd-3;and (b)an
  offense againsta foreign nation,specifically V enezuela,involving bribely ofa public official,and

  the m isappropriation,theft,and em bezzlem entof public fllndsby and for the benefitof a public

  ofdcial,plzrsuanttoTitle18,UnitedStatesCode,Section1956(c)(7)(B)(iv),thatis,thetransferof
  approxim ately $800,000 from a bank accotmtin M iami,Florida to a bank accountin Pannm a,




                                                    16
Case 1:21-cr-20406-KMW Document 3 Entered on FLSD Docket 08/02/2021 Page 17 of 24




   controlled by Co-conspirator 1, in violation of Title 18, United States Code, Sections

   1956(a)(2)(A)and2.
                                         C O UN T S 5-7
                    Engaging in Transactions in C rim inally D erived Property
                                    (18U.S.C.jj1957and2)
                 Pazagraphs 1 through 16 of the General A llegations Section and paragraphs 1

   through 23 of the M almer and M eans Section of Count 1 are re-alleged and incorporated by

   referenceasthough fully setforth herein.

          2.     On or aboutthe dates setforth in each Countbelnw,in the Southem Districtof

   Florida and elsewhere,thedefendant,

                                         N AM A N W AK IL ,

   didknowingly engage1,and aid,abet,and causeothersto engage1 ,and attemptto engage1 ,a

   m onetary transaction affecting interstate comm erce,by,though,and to a Enancialinstitution,in

   crinlinally derived property ofa value greaterthan $10,000,such property having been dedved
   from a specified unlawf'ul activity,and lcnowing that the property involved in the financial

   transactionsrepresented theproceedsofsom eform oflqnlawfulactivity. Itisfurtherallegedthat

   thespecifiedllnlawf'
                      ulactivityisthefollowing:(a)afelonyviolationoftheFCPA,Title15,United
   StatesCode,Sections78dd-2 and78dd-3;and(b)an offenseagainstaforeignnation,specifically
   Vene> ela, involving bribery          public official, and the misappropriation, theft and

   embezzlementofpublie funds by and forthe benefitof a public official,pm suantto Title 18,

   United StatesCode,Section 1956(c)(7)(B)(iv):
Case 1:21-cr-20406-KMW Document 3 Entered on FLSD Docket 08/02/2021 Page 18 of 24




         Cotm t Approxim ateD ate                       Description ofTrânsaction

          5         October11,2016      W iretransferin the nm ountofapproxim ately $1,742,510
                                        from abnnk accountofN AM AN W AK IL in the Southern
                                        District of Florida to an atlorney escrow accotm t in the
                                        Southern District of Florida for the ptlrchase of an
                                        apartmentin Coconut Grove at 2675 S.Bayshore,Unit
                                        602,M iami,Florida 33133
          6         October11,2016      W iretransferin the am otmtofapproxim ately $1,659,419
                                        from abnnk accotmtofN           W AK IL in theSouthern
                                        Districtof Florida to an attorney escrow accountin the
                                        Southern District of Florida for the ptlrchase of an
                                        apartmentin Coconut Grove at 2675 S.Bayshore,Unit
                                        402,M iam i,Flodda 33133
          7       December14,2016 W izet'
                                        ransferin the am otmtofapproxim ately $4,032,051
                                        from abnnk accountofN          W AK IL izltheSouthern
                                        DiskictofFlorida to an attorney escrow accountforthe
                                        purchase ofan apm m entin Sllnny Isles at 18555 Collins
                                        Avenue,Unit2605,M inm iB each,Florida 33139

         In violation ofTitle 18,United StatesCode,Sections 1957 and 2.

                                         FO R FEITU RE
                            (18U.S.C.jj981(a)(1)(C)and 982(a)(1))
          1.    The allegations of this Indictment are re-alleged and by this reference ftzlly

  incop oratedhereinforthepurposeofallegingforfeittzretotheUnited StatesofAmericaofcertain

  property in w llich the defendant,NA M AN W AK IL,has an interest.

                U pon conviction ofa vièlation of Title 15,U rlited StatesCode,Section 78dd-2,or

   aconspiracy to comm itsuch an offense,as alleged in thislndictm ent,the defendantshallforfeit

  to theUnited Statesany property,realorpersonal,which constitutesorisdedved from proceeds

  traceabletosuchoffense,plzrsuanttoTitle18,UnitedStatesCode,Section 981(a)(1)(C).
                Upon conviction of aviolation of Title 18,Urlited States Code,Section 1956 or

   1957,as alleged this Indictment,the defendant,NAM AN W AKIL,shallforfeitto the United



                                                   18
Case 1:21-cr-20406-KMW Document 3 Entered on FLSD Docket 08/02/2021 Page 19 of 24




   Statesany property,realorpersonal,involved in such offense,orany property traceableto such

  property,pursuanttoTitle 18,United StatesCode,Section 982(a)(1).
         4.     Thepropertysubjecttoforfeittlreincludes,butisnotlimitedto:
                a. aforfeituremoneyjudgmentinthenmotmtofatleast$50million;
                b. real property located at 3535 H iaw atha Avenue, U nit 602, M inm i, Florida
                   331334
                c. realproperty located at68 SE 6 Street,Unit2511,M inm i,Florida33131,
                                                                                      '

                    realproperty located at68 SE 6 Street,U nit2911,M inm i,Florida 33131;

                e. realproperty located at4500Nol'th M inmiAvenue,M iam i,Florida33127,
                                                                                      .
                    realproperty located at4510 N orth M inm iA venue,M inm i,Florida 33127;

                g. realproperty locuted at92 SW 3 Street,Unit4806,M iam i,Florida33130;

                h. realproperty located 92 SW 3 Street,Unit5006,M inm i,Florida33130;

                    realproperty located at257 W estM ain A venue,G astonia,N C 28052;

                    realproperty located at 18555 Collins Avenue,Unit 2605, M inmi,Florida
                    33160;

                k. realproperty located at888 BrickellKey Ddve,Unit 1512,M inm i,Florida
                   33131.7

                    real property located at 1010 Brickell Avenue, Ulzit 3509, M inm i, Florida
                    33131;

                m .realproperty located at 1010 Brickell Avenue,Unit 4310,M iami,Florida
                   33131;

                n. realproperty located at1010 BrickellA venue,Unit4610,M iam iFlotida33131;

                o. realproperty located at 1010 Brickell Avenue,Unit 4710,M iami,Florida
                   33131;and

                p. the contents of Synovus Bank accotm t num ber 05312001015335423 in the
                   nnm eofW akilisimo LLC;
                q. the contents of Synovus Bank accotm t num ber 07081901013876345 in the
                   nam e ofN am an W aldl;



                                                   19
Case 1:21-cr-20406-KMW Document 3 Entered on FLSD Docket 08/02/2021 Page 20 of 24




                        thecontentsofUnitedBank(formerlyknown asCarolinaTrustBank)account
                        number0700017114inthenameofNam anW alcilandSouheilA.GT ony''Azar;

                   s. thecontentsofUnitedBank(formerlyknown asCarolinaTrustBnnk)accotmt
                        num ber 700015258 in thenam e of W akilPropertiesLLC;and

                        thecontentsofUrlitedBank(formerlyknownasCarolinaTrustBanklaccotmt
                        number700015266 in thename ofW akilisim oLLC.

            5.     Ifany ofthepropertydescribedaboveasbeingsubjecttoforfeiture,asaresultof
 '
     alzy actorom ission ofthe defendant:

                   a.      cannotbelocated upontheexerciseofduediligence;

                  b.       hasbeen transferred orsoldto,ordeposited with,athird party;

                           hasbeenplacedbeyondthejtlrisdictionoftheCotut
                           has been substantially dim inished in value;or

                   e.      has been com m ingled w ith otherproperty thatcannotbe divided w ithout

                           difficulty;

     theUnited Statesshallbeentitled to forfeiture ofsubstim teproperty,'
                                                                        undertheprovisionsof

     Title21,United StatesCode,Section 8534J9..




                                                       20
Case 1:21-cr-20406-KMW Document 3 Entered on FLSD Docket 08/02/2021 Page 21 of 24




         A1lpursuanttoTitle18,UnitedStatesCode,Section 982(a)(1),andtheproceduzessetforth
  in Title 21,United States Code,Section 853,as incorporated by Title 18,United States Code,

   982(19(1).
                                                 A TRUE B y f-

                                                   b P ' ''N

                                                         f

        y/,-w '                                                H .*
(
W J
  ACT
   U ANTO
      G> 1ED
          OGONZ
             STATE
                 AL
                  SEZ
                   ATTORNEY                    :- JOSEPH S.BEEM STERBOER
                                                  A CTING CH IEF,FR AU D SECTION
                                                  CRIM m AL D IV ISION

                                                     <
       '        #                                            # .>
  M ichaelN .B erger                          &z A lexanderK ram er
  A ssistantU nited StatesAttorney               TrialAttorney




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    Case 1:21-cr-20406-KMW Document
                              UNITED3STATESDI
                                       EnteredSTRI
                                               on FLSD Docket 08/02/2021 Page 22 of 24
                                                  CT COURT
                             SOUTHERN DISTRICT OFFLORIDA

   UNITED STATESOFAM ERICA                             CASE NO.

                                                       C ERTIFICATE O F T RIAL ATTO RN EY.
   NAMAN W AKIL,                                       Superseding CaseInform ation:
                 Defendant.                  /
     CourtDivision:tselectOne)                        Newdefendantts) I--IYes I
                                                                              --INo
    17
     --1Miami I-lloeyWest F-IFTL                      Numberofnewdefendants
    I--IWPB N FTP                                     Totalnumberofcounts
         1. 1have carefully considered the allegationsofthe indictm ent,thenum berofdefendants,thenum berofprobable
            witnessesand thelegalcom plexitiesofthelndictm ent/lnform ation attachedhereto.
         2. 1am awarethattheinformation supplied onthisstatem entwillbe relied upon by theJudgesofthisCourtin
            settingtheircalendarsand scheduling crim inaltrialsunderthemandate oftheSpeedy TrialAct,
            Title28 U .S.C.Section 3161.
         3.lnterpreter:(YesorNo)Yes
            Listlanguageand/ordialect Spanish
         4. Thiscase willtake 10 daysforthepartiestotry.
         5. Pleasecheck appropriatecategory andtype ofoffense listedbelow :
               (Checkonlyone)                            (Checkonlyone)
              0to5days            (7l                   Petty             E7I
          11 6to10days            Ec                    M inor            ETI
          l11 11to20days          (7q                   M isdemeanor      N
          IV 21to60days           (7q                   Felony            Lz
          V 61daysandover         E7
         6.Hasthiscasepreviouslybeen tiledinthisDistrictCourt? (YesorNo) No
            lfyes:Judge                               CaseNo.
            (Attachcopyofdispositiveorder)
            Hasacomplaintbeenfiledinthismatter? (YesorNo)No
            Ifyes:M agistrateCase N o.
            Related m iscellaneousnum bers:
            Defendantts)infederalcustodyasof
            Defendantts)in statecustodyasof
            Rule20 from theDistrictof
            lsthisapotentialdeathpenaltycase?(YesorNo) No
            D oesthiscase originatefrom am atterpending in theCentralRegion oftheU .S.Attorney'sOfficepriorto
            August9,2013(Mag.JudgeAlicia0.Valle)?(YesorNo) No
            Doesthiscase originatefrom am atlerpending intheN orthern Region oftheU .S.A tlorney'sOfficepriorto
            August8,2014 (M ag.JudgeShaniekM aynard?(YesorNo) No
            Doesthiscase originatefrom am atterpending intheCentralRegion oftheU .S.Attorney'
                                                                                            sOfficepriorto
            October3,2019(Mag.JudgeJaredStrauss)?(YesorNo) No


                                                                              '   Q
                                                                     M ichaelN .Berger
                                                                     AssistantUnited States Attorney
                                                                     Coud ID No.      A5501557
*penalty Sheetls)attachi                                                                               REV 3/l9/21
Case 1:21-cr-20406-KMW Document 3 Entered on FLSD Docket 08/02/2021 Page 23 of 24




                             U NITED STATE S D ISTR ICT C O UR T
                             SO UTH ERN DISTR ICT O F FLO R IDA

                                         PEN ALTY SH EET

  D efendant'sNam e:NAM AN W AK IL

   C ase N o:                        .

   Count#:1

   Conspiracy to Com m itan Offense A cainstthe U nited States

   Title 18,U nited States Code.Section 371

   *M ax.penalty:Five(5)Years'Imprisonment
   Count#:2

  Foreizn Con-uptPracticesA ct

  Title 15sU nited States CodesSection 78dd-2

   *M ax-penalty:Twenty(20)Years'lmprisonment
  Cotm t#:3

  Conspiracy to Com m itM onev Latm dednc

  Title 18.United StatesCode.Section 1956(h)

   *M ax.penalty:Twenty(20)Years'lmpdsomnent
  Count#:4

  InternationalLaunderin: ofM onetarv Instrum ents

  Title 18eUnited StatesCodeeSection 1956(a)

  *M axzenalty:Twenty(20)Years'lmprisonment




    WR efers only to possible term ofincarceration,doesnotinclude possible fines,restitution,
             specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
Case 1:21-cr-20406-KMW Document 3 Entered on FLSD Docket 08/02/2021 Page 24 of 24




   Cotm ts #:5-7

   Engazing in M onetarv Transactionsin Crim inallv Derived Property

   Title 18.U nited States Code.Section 1957

   *M ax.penalty:Ten (10)Years'Impdsonment




    *R efers only to possible term ofincarceration,does notinclude possible fines,restitution,
             specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
